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From:              Denae Kassotis
To:                "Stephen Klein"
Cc:                Edward Caspar; Benjamin Barr; Joshua Margolin; Claire O"Brien
Bcc:               Eddie Rivera
Subject:           RE: Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.)
Date:              Thursday, July 14, 2022 11:09:00 AM


Counsel –

Thank you for your response. We think that holding a 26(f) conference would be in the interest of all
parties, and I hope that your client will participate. There is nothing in the federal or D.D.C. local
rules prohibiting a Rule 26(f) conference while a motion to dismiss is pending. Rather, Rule 26
requires parties to “confer as soon as practicable,” Fed. R. Civ. P. 26(f), and the Advisory Committee
has advised that a conference should proceed notwithstanding pending Rule 12 motions, see id.
1993 advisory committee notes (“The obligation to participate in the planning process is imposed on
all parties that have appeared in the case, including defendants who, because of a pending Rule 12
motion, may not have yet filed an answer in the case.”). The unique circumstances of this case,
including its complexity, scope, and likely need for a longer than average period of discovery,
counsel in favor of convening the 26(f) conference so that the groundwork can be laid for the
beginning of discovery.

While Plaintiffs acknowledge Mr. Straka’s pending motion, there is no reason to further delay a Rule
26(f) conference, which is neither burdensome nor prejudicial to Mr. Straka, and is merely to set
discovery deadlines, discuss the preservation of information, and lay the groundwork for efficient
discovery.

Plaintiffs intend to move forward with a Rule 26(f) conference with the parties that have agreed to
confer. Plaintiffs will provide you with the dial-in information for the conference, so that you can join
if you decide to do so.

All best,

Denae Kassotis
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: she, her, hers
----------------------------------------------
+1 212.390.9062 [O]
+1 914.560.6228 [M]


From: Stephen Klein <steve@barrklein.com>
Sent: Friday, June 24, 2022 9:28 AM
To: Joshua Margolin <jmargolin@selendygay.com>
Cc: Edward Caspar <ecaspar@lawyerscommittee.org>; Denae Kassotis
<dkassotis@selendygay.com>; Benjamin Barr <ben@barrklein.com>
Subject: Re: Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.)



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Mr. Margolin,

In response to your June 22 letter, we do not believe it is in keeping with “secur[ing]
the just, speedy, and inexpensive determination of” this case to have a Rule 26(f)
conference while Brandon Straka has a motion to dismiss pending that might (indeed,
is likely to) dispose of all of your clients’ claims against him in this matter. Fed. R. Civ.
P. 1.

If you insist on proceeding, we intend to seek a stay of discovery or for “the court [to]
order[] otherwise” under Rule 26(f)(1) to delay the conference timing until at least the
resolution of Mr. Straka’s motion to dismiss. So, again, if you insist on proceeding,
please let us know your position on this motion.

Regards,

--
Steve Klein
Barr & Klein PLLC
1629 K St NW Ste. 300
Washington, DC 20006
(202) 804-6676

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From: Denae Kassotis <dkassotis@selendygay.com>
Date: Wednesday, June 22, 2022 at 4:11 PM
To: Stephen Klein <steve@barrklein.com>
Cc: Edward Caspar <ecaspar@lawyerscommittee.org>, Joshua Margolin
<jmargolin@selendygay.com>
Subject: Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.)

Counsel,

Please see the attached correspondence.

Many thanks,

Denae Kassotis
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
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